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              UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH
                                CENTRAL DIVISION


    UTAH PHYSICIANS FOR A HEALTHY                       MEMORANDUM DECISION AND
    ENVIRONMENT, INC.,                                 ORDER GRANTING PLAINTIFF’S
                                                      SHORT FORM DISCOVERY MOTION
                  Plaintiff,                            TO COMPEL PRODUCTION OF
                                                        DOCUMENT AND RECONVENE
    v.                                                    DEPOSITION (DOC. NO. 41)

    HARLEY-DAVIDSON OF SALT LAKE
    CITY, LLC (d/b/a Harley-Davidson of Salt
    Lake City and South Valley Harley-Davidson
    Shop); NORTHERN UTAH POWER                                  Case No. 2:22-cv-00473
    SPORTS, LLC (d/b/a Golden Spike Harley-
    Davidson and Saddleback Harley-Davidson);                 District Judge David Barlow
    and JOSEPH L. TIMMONS, JR.,
                                                          Magistrate Judge Daphne A. Oberg
                  Defendants.


          In this citizen environmental enforcement action, Plaintiff Utah Physicians for a Healthy

Environment (“UPHE”) filed a discovery motion seeking to compel Defendants Harley-

Davidson of Salt Lake City, LLC, Northern Utah Power Sports, LLC, and Joseph L. Timmons,

Jr. to (1) produce a settlement agreement between Defendants and nonparty Harley-Davidson,

Inc., and (2) reopen Defendant Joseph Timmons’ deposition to permit further questioning about

the agreement. 1 A hearing was held on October 5, 2023. 2 As explained at the hearing, because

the agreement is relevant to UPHE’s claims and responsive to Request for Production (“RFP”)




1
 (Pl.’s Mot. for Short Form Disc. to Compel Produc. of Doc. and Reconvene Dep. (“Mot.”),
Doc. No. 41.)
2
    (See Minute Entry, Doc. No. 62.)



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11, and it was improper for Defendants’ counsel to instruct Mr. Timmons not to answer

questions about the agreement, UPHE’s motion is granted.

                                         BACKGROUND

          UPHE brought this citizen enforcement action under the Clean Air Act 3 and the Noise

Control Act, 4 alleging Defendants violated these acts by, among other things, using their website

to sell aftermarket defeat parts which enable the removal of pollution-control devices in

motorcycles. 5 During discovery, in RFP 11, UPHE requested “all documents that set forth or

pertain to [Defendants’] business/dealership relationship with the entity or entities that

manufacture Harley-Davidson motorcycles, including contracts and agreements, and any

amendments thereto, in effect within the applicable period.” 6 During his deposition, Mr.

Timmons referred to a settlement agreement between Defendants and Harley-Davidson, Inc., and

indicated the agreement was confidential. 7 Mr. Timmons’ counsel then instructed him not to

answer questions about the agreement, citing the confidentiality provision. 8 The agreement was

not produced in response to UPHE’s document requests. 9




3
    42 U.S. § 7401 et seq. (1970).
4
    42 U.S. § 4901 et seq. (1972).
5
    (Compl. ¶ 1, Doc. No. 2.)
6
 (Ex. 1 to Mot., Pl.’s Reqs. to Def. Harley-Davidson of Salt Lake City, LLC for Produc. of
Docs., First Set 6, Doc. No. 41-1.)
7
 (See Mot. 1, Doc. No. 41; Ex. 2 to Mot., Dep. of Joseph L. Timmons (“Timmons Dep.”) 35:15–
21, Doc. No. 41-2.)
8
    (See Mot. 2, Doc. No. 41; Ex. 2 to Mot., Timmons Dep. 39:11–16, 40:8–9, Doc. No. 41-2.)
9
    (See Mot. 1–2, Doc. No. 41.)



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                                        LEGAL STANDARDS

           Rule 26(b)(1) of the Federal Rules of Civil Procedure provides that “[p]arties may obtain

discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case.” 10 Relevance in the discovery context is “to be construed

broadly to encompass any matter that bears on, or that reasonably could bear on any party’s

claim or defense.” 11

           And Rule 30(c)(2) of the Federal Rules of Civil Procedure only permits counsel to

instruct a deponent not to answer “when necessary to preserve a privilege, to enforce a limitation

ordered by the court, or to present a motion under Rule 30(d)(3).” 12 In every other circumstance,

objections, “whether to evidence, to a party’s conduct, to the officer’s qualifications, to the

manner of taking the deposition, or to any other aspect of the deposition—must be noted on the

record, but the examination still proceeds; the testimony is taken subject to any objection.” 13

                                              ANALYSIS

           UPHE seeks an order compelling production of a settlement agreement between

Defendants and Harley-Davidson, Inc., and seeks to reopen Defendant Joseph Timmons’

deposition to permit further questioning about the agreement. Both requests are justified. The

settlement agreement is responsive and relevant. And Mr. Timmons was improperly advised not

to answer questions about it.



10
     Fed. R. Civ. P. 26(b)(1).
11
  Allegis Inv. Servs. v. Arthur J. Gallagher & Co., No. 2:17-cv-00515, 2018 U.S. Dist. LEXIS
243885, at *6 (D. Utah May 25, 2018) (unpublished) (citation omitted).
12
     Fed. R. Civ. P. 30(c)(2).
13
     Id.



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           Settlement Agreement. UPHE contends the settlement agreement between Harley-

Davidson, Inc., and Defendants is relevant because: (1) it relates to the same e-commerce

platform Defendants used to sell aftermarket defeat parts, (2) it may relate to Harley-Davidson,

Inc.’s interest in curbing those sales, and (3) it may provide evidence of Defendants’ profits from

those sales and compensation they received for their termination, relevant to the assessment of

civil penalties. 14

           Defendants contend the settlement agreement was not produced because it is not

responsive to any discovery requests. 15 Further, they argue the agreement is irrelevant because it

reflects the resolution of an unrelated, commercial dispute which had nothing to do with

emissions or aftermarket parts sales. 16 Defendants support this assertion with a declaration from

a Harley-Davidson, Inc. employee who attests the agreement makes no reference to Defendants’

aftermarket parts sales. 17

           As an initial matter, the settlement agreement is directly responsive to a pending

discovery request. In RFP 11, UPHE requested “all documents that set forth or pertain to

[Defendants’] business/dealership relationship with the entity or entities that manufacture

Harley-Davidson motorcycles, including contracts and agreements, and any amendments thereto,




14
     (Mot. 2–3, Doc. No. 41.)
15
  (Defs.’ Opp’n to Pl.’s Short Form Mot. to Compel Produc. of Doc. and Reconvene Dep.
(“Opp’n”) 2–3, Doc. No. 43.)
16
     (Id. at 3.)
17
     (Ex. E to Opp’n, Decl. of Craig Greenwood ¶ 5, Doc. No. 43-5.)



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in effect within the applicable period.” 18 According to Defendants, the settlement agreement at

issue resulted from a lawsuit by Harley-Davidson of Salt Lake City, LLC, against Harley-

Davidson, Inc., alleging breach of contract in relation to the online sales platform. 19 Where the

agreement pertains to the business relationship between Defendants and Harley-Davidson, Inc., it

falls within the reach of this RFP.

             The agreement is also relevant to UPHE’s claims, based on Mr. Timmons’ testimony. In

its complaint, UPHE alleges Defendants sold aftermarket defeat parts on their website “over the

last five years.” 20 Mr. Timmons testified that Defendants stopped all internet sales at the end of

2022 because “Harley-Davidson asked us to do it.” 21 He also asserted that whether Harley-

Davidson paid Defendants to stop was confidential. 22 Although Defendants deny the settlement

agreement relates to aftermarket parts, Mr. Timmons testified Defendants stopped all internet

sales pursuant to this agreement with Harley-Davidson. 23 And Defendants and Harley-Davidson

entered into this agreement only after UPHE filed this suit against Defendants. 24 Under the

circumstances, UPHE is entitled to investigate how the agreement impacted Defendants’




18
 (Ex. 1 to Mot., Pl.’s Reqs. to Def. Harley-Davidson of Salt Lake City, LLC for Produc. of
Docs., First Set, Doc. No. 41-1.)
19
     (Opp’n 2, Doc. No. 43.)
20
     (Compl. ¶¶ 99–101, 122–24, Doc. No. 2.)
21
     (Ex. 2 to Mot., Timmons Dep. 35:15–21, Doc. No. 41-2.)
22
     (Id.)
23
     (Id.)
24
 (See Opp’n 2, Doc. No. 43 (noting the case was dismissed pursuant to a stipulated motion in
December 2022).)



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decision to stop all sales (including sales of aftermarket defeat parts) on its e-commerce

platform. Accordingly, Defendants must produce the agreement to UPHE.

             Mr. Timmons’ Deposition. Next, UPHE contends it was improper for Defendants’

counsel to instruct Mr. Timmons not to answer questions regarding the agreement based on

confidentiality. 25 UPHE also points out that Defendants’ counsel identified no privilege, court-

imposed limit, or evidence of bad faith when instructing Mr. Timmons to not answer. 26 Finally,

UPHE argues the protective order in this case addresses any confidentiality concerns. 27

             Defendants argue it was proper for counsel to instruct Mr. Timmons not to answer

questions about the agreement because Mr. Timmons referenced the agreement’s confidentiality

clause and counsel knew it was likely Defendants would need to give Harley-Davidson notice

under the agreement. 28

             Counsel’s instruction to Mr. Timmons not to answer questions regarding the agreement

during his deposition was improper under Rule 30(c)(2). Unless a party identifies a valid

privilege or prior limitation ordered by the court, or files a motion to terminate or limit the

deposition under Rule 30(d)(3), the deposition must proceed, subject to the objection. 29 In this

case, Defendants neither identified a privilege or prior limitation, nor filed a motion. Instead,

they merely cited the confidentiality provision in the agreement. But a private confidentiality



25
     (Mot. 2, Doc. No. 41.)
26
     (Id.)
27
  (Id.; see also Scheduling Order 3, Doc. No. 24 (noting the parties have agreed to the court’s
Standard Protective Order).)
28
     (Opp’n 2, Doc. No 43.)
29
     See Fed. R. Civ. P. 30(c)(2).



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agreement is not a valid basis, on its own, to refuse to answer deposition questions. If Mr.

Timmons needed time to provide Harley-Davidson with notice before answering questions about

the agreement, Defendants could have filed a motion under Rule 30(d)(3)(A). Further,

Defendants’ confidentiality concerns can be addressed under the Standard Protective Order,

which permits confidential and “attorneys’ eyes only” designations of documents. 30

          For these reasons, Mr. Timmons must submit to a continued deposition of no more than

thirty minutes, to permit further questioning regarding this agreement.

                                         CONCLUSION

          Because the settlement agreement is relevant to UPHE’s claims and responsive to RFP

11, and Defendants’ counsel’s instruction to Mr. Timmons not to answer questions about the

agreement was improper, UPHE’s motion to compel 31 is GRANTED. 32 Defendants are

ORDERED to produce the agreement within fourteen days of the hearing. The parties are

ORDERED to meet and confer regarding the method of production in light of the confidentiality

concerns expressed by Defendants and nonparty Harley-Davidson, Inc. at the hearing.




30
   See Standard Protective Order,
https://www.utd.uscourts.gov/sites/utd/files/Standard_Protective_Order.pdf; see also DUCivR
26-2.
31
     (Doc. No. 41.)
32
 Defendants request an award of attorney fees incurred in responding to the motion. (Opp’n 3,
Doc. No. 43.) Because the motion is granted, this request is denied.



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Defendants are further ORDERED to make Mr. Timmons available for a continued deposition of

no more than thirty minutes regarding the agreement.

       DATED this 18th day of October, 2023.

                                           BY THE COURT:


                                           _________________________________________
                                           Daphne A. Oberg
                                           United States Magistrate Judge




                                               8
